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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DONTAIE ANDERSON,                            :
    Plaintiff,                               :
                                             :
       v.                                    :       CIVIL ACTION NO. 20-CV-4424
                                             :
COMMONWEALTH OF                              :
PENNSYLVANIA, et al.,                        :
     Defendants.                             :

                                             ORDER

       AND NOW, this 12th day of January 2021, upon consideration of Plaintiff Dontaie

Anderson’s Motion to Proceed In Forma Pauperis (ECF No. 1), and pro se Amended Complaint

(ECF No. 5), and for the reasons set forth in the accompanying memorandum opinion, it is

ORDERED that:

       1.      Anderson’s Amended Complaint is DISMISSED WITHOUT PREJUDICE,

pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) because it seeks relief in the nature of habeas corpus.

The dismissal is without prejudice to Anderson filing a habeas corpus petition pursuant to 28

U.S.C. § 2254 after he has exhausted all available state court remedies.

       2.      The Motion for Leave to Proceed In Forma Pauperis is DISMISSED AS

MOOT.

       3.      The Clerk of Court shall CLOSE this case.

                                             BY THE COURT:

                                             /s/ Cynthia M. Rufe


                                             CYNTHIA M. RUFE, J.
